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 6   Attorneys for Plaintiffs
 7                         IN THE UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF ARIZONA
 9
     Christopher Gagne, in his capacity as the
10   Personal Representative of the Estate of             Case No: 2:24-cv-01337-DJH
     Shawn Taylor Gagne et al.
12
                           Plaintiffs,
                                                             NOTICE OF SERVICE OF
13
     vs.                                                   PLAINTIFFS’ INITIAL FED. R.
14                                                          CIV. P. 26(a)(1) DISCLOSURE
     City of Mesa et al.                                            STATEMENT
15
                           Defendant(s).                  (Assigned to Hon. Diane J. Humetewa)
16
17
18          Plaintiffs, by and through undersigned counsel, hereby give notice that on this date,
19   Plaintiffs served on all parties herein, their Initial Fed. R. Civ. P. 26(a) Disclosure Statement
20   in the above-captioned matter via electronic mail.
21          DATED this 4th day of October, 2024.
22                                         MUSHKATEL, GOBBATO & KILE, PLLC
23
                                           By:   /s/ Jordan Brunner
24                                               Zachary Mushkatel
25                                               Jordan A. Brunner
                                                 15249 North 99th Avenue
26                                               Sun City, Arizona 85351-1964
                                                 Attorney for Plaintiffs
27
28



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 1                              CERTIFICATE OF SERVICE

 2         I hereby certify that on October 4, 2024, I electronically transmitted the
 3   attached document to the Clerk's Office using the CM/ECF System for filing and
 4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
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12         ggriggs@wienekelawgroup.com
           Attorneys for Defendants
13
14         I hereby certify that on this same date, I served the attached document by U.S.
15   Mail, postage prepaid, on the following, who is not a registered participant of the
16   CM/ECF System: N/A
17                                         By:      /s/ Jordan Brunner
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